                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


EDITH MAE MAY,

                       Plaintiff,

               v.                                             Case No. 21-cv-0961-bhl

STATE OF WISCONSIN, et al.,

                       Defendants.


                                     DECISION AND ORDER


       Plaintiff Edith Mae May is a prisoner confined at Taycheedah Correctional Institution who

is representing herself in this 42 U.S.C. §1983 case. On August 13, 2021, along with her

complaint, May filed a motion for leave to proceed without prepaying the filing fee. On August

25, 2021, the clerk’s office mailed May a letter informing her that she had to return, within twenty-

one days, a certified copy of her trust account statement for the six months preceding the filing of

her complaint. Dkt. No. 4. The letter warned May that, “Failure to comply with this requirement

may result in the Court’s dismissal of your case.” Id. (emphasis in original). The Court did not

receive May’s trust account statement by the deadline, so on September 14, 2021, the Court

ordered May to submit a certified copy of her trust account statement by October 5, 2021. Dkt.

No. 6. The Court warned May that, if she did not do so or did not inform the Court in writing why

she was unable to do so, her case may be dismissed. Id.

       The Court has not received a copy of May’s trust account statement, nor has May informed

the Court of any challenges preventing her from arranging the submission of her trust account

statement. Under 28 U.S.C. §1915(a)(2), a prisoner seeking to proceed with a civil action without




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prepaying the filing fee must submit a certified copy of her institution trust account statement.

Because May failed to comply with this requirement, the Court will deny her motion for leave to

proceed without prepaying the filling fee and will dismiss this case without prejudice based on her

failure to pay the filing fee.

        IT IS THEREFORE ORDERED that May’s motion for leave to proceed without

prepaying the filing fee (Dkt. No. 2) is DENIED and this case is DISMISSED without prejudice.

        IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. §1915(b)(1), May must pay the

$350 statutory filing fee. Accordingly, the agency having custody of May shall collect from her

institution trust account the $350 statutory filing fee by collecting monthly payments from her

prison trust account in an amount equal to 20% of the preceding month’s income credited to the

prisoner’s trust account and forwarding payments to the Clerk of Court each time the amount in

the account exceeds $10 in accordance with 28 U.S.C. §1915(b)(2). The payments shall be clearly

identified by the case name and number assigned to this action. If May is transferred to another

institution, the transferring institution shall forward a copy of this Order along with May’s

remaining balance to the receiving institution.

        IT IS FURTHER ORDERED that copies of this order be sent to the officer in charge of

the agency where May is located.

        Dated at Milwaukee, Wisconsin this 18th day of October, 2021.

                                              BY THE COURT:

                                              s/ Brett H. Ludwig
                                              BRETT H. LUDWIG
                                              United States District Judge




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